Case 6:21-cv-01726-CEM-DCI Document 12 Filed 11/29/21 Page 1 of 2 PageID 92




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


HOWARD COHAN,

                   Plaintiff,

v.                                                 Case No. 6:21-cv-1726-CEM-DCI

MILESTONE HOSPITALITY,
LLC,

                   Defendant.


                                      /

                                     ORDER
      THIS CAUSE is before the Court on the Notice of Pending Settlement (Doc.

11), which advises the Court that the above-styled action has been settled.

      Accordingly, it is ORDERED and ADJUDGED that this cause is

DISMISSED with prejudice subject to the right of any party, within sixty days

from the date of this Order, upon good cause, to move the Court to re-open the case

in accordance with Local Rule 3.09(b). The Clerk is directed to close this case.

      DONE and ORDERED in Orlando, Florida on November 29, 2021.




                                     Page 1 of 2
Case 6:21-cv-01726-CEM-DCI Document 12 Filed 11/29/21 Page 2 of 2 PageID 93




Copies furnished to:

Counsel of Record




                                 Page 2 of 2
